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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                            )
                                                     )              4:11MJ3030-3
                        Plaintiff,                   )
                                                     )
                                                     )
         vs.                                         )            DETENTION ORDER
                                                     )
OLGA REYES,                                          )
                                                     )               COMPLAINT
                        Defendant.                   )
                                                     )



    The defendant waived the right to a detention hearing and agreed to detention.
Pursuant to 18 U.S.C. § 3142(f) and § 3143(a) of the Bail Reform Act, and Fed. R. Crim.
P. 5 (d)(3),

    IT IS ORDERED,

    1)         The above-named defendant shall be detained pending further proceedings in
               this case.

    2)         A preliminary hearing will be held on June 27, 2011 at 12:00 p.m. (noon) before
               the undersigned magistrate judge. Counsel for the government, defense
               counsel, and the defendant shall attend the hearing.


               June 9, 2011                          BY THE COURT:


                                                     s/Cheryl R. Zwart
                                                     Cheryl R. Zwart
                                                     United States Magistrate Judge
